                   Case 1:18-cv-00444-RP Document 416 Filed 10/20/23 Page 1 of 1


                                            ABSTRACT OF JUDGMENT
                                                            Notice


         Pursuant to Title 28, United States Code, Section 3201, this judgment, upon the filing of this abstract in the
manner in which a notice of tax lien would be filed under paragraphs (1) and (2) o!26 U.S.C. § 6323(f), creates a lien on
all real property o!the defi.ndant(s) and has priority over all other liens or encumbrances which are pertctcd later in
                                                                     tr
time. The lien created by this section is cfThctive, unless satisfied.    a period of 20 years and may be renewed by filing
a notice of renewal. If such notice of renewal is filed before the expiration of the 20 year period to prevent the expiration
of the lien and the court approves the renewal, the lien shall relate hack to the (late the judgment is filed.


 Names and Addresses of Parties against                         Names of Parties in whose favor judgments have been
 whom judgments have been obtained                              ordered

 Evan Phillip Jowers                                            Counsel Holdings, Inc.
 14909 Venosa Cir
 Jacksonville. Fl. 33301




i)OB(if available): 09/16/1971                                  Docket No. 1:1 8-CV-00444-RP
i)rivers Licence (if available): J620 215 71 3360 (FL)
                                                                                                   Date Judgment
                           Amount of' Judgment                                                    Entered on Docket

 Amount of Judgment: $3,640.1 32.60                                                     July 25, 2023
 Amount of Prejudgment Interest: $ 826,749.63

TOTAL AMOUNT DUE: $4,466,882.23                                                                         Credits:
                                                                                        NONE
PLUS POST-JUDGMENT INTEREST AT THE RATE OF 3.91%
BEGINNING SEPTEMBER 19, 2022




                                             UNIT[l) STATES 01: AMERICA
                                                     CLERK'S OFFICE.
                               US I)IS IRK I COURI - WI 511 RN 1)151 RIC         1    01 IF XAS
                                                   I)IVISION: AUSTIN

       I   CERTIFY, l'hat the foregoing is a eOITeCt Abstract of the Judgment entered or registered by this Court.

                                                             I)ate: OCt7bCX            1o2o2-3
                                                             Phillip l)evlin, Clerk

                                                             ByPtCIXV        1k'u Deputy Clerk
                                                                                             ,
